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                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )        CRIM. NO. 06-00080 (02) SOM
                              )
          Plaintiff,          )
                              )        ORDER DENYING MOTIONS UNDER
     vs.                      )        28 U.S.C. § 2255, ECF NOS.
                              )        1466, 1475, and 1509;
RODNEY JOSEPH, JR. (02),      )        EXHIBIT A
                              )
          Defendant.          )
_____________________________ )

           ORDER DENYING MOTIONS UNDER 28 U.S.C. § 2255,
                   ECF NOS. 1466, 1475, and 1509

I.         INTRODUCTION.

           On March 20, 2009, after a lengthy jury trial,

Defendant Rodney Joseph, Jr., was convicted of violating the

Racketeer Influenced and Corrupt Organizations Act (“RICO”) and

the Violent Crimes in Aid of Racketeering Enterprise Act

(“VICAR”), as charged in seven separate counts in the Second

Superseding Indictment of October 12, 2006.        See Verdict Form as

to Defendant (02) Rodney Joseph, Jr., (March 20, 2009), ECF No.

1090.   Joseph’s crimes included a substantive RICO violation of

18 U.S.C. § 1962(c), with racketeering acts in the form of an

illegal gambling business, an extortion conspiracy, and robbery

(Count 1); a RICO conspiracy in violation of 18 U.S.C. § 1962(c)

(Count 2); a conspiracy to operate an illegal gambling business

in violation of 18 U.S.C. §§ 2 and 1955 (Count 3); a VICAR

violation in the form of an assault with a dangerous weapon in

violation of 18 U.S.C. § 1959(a)(3) and 2 (Count 4); a VICAR
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violation in the form of the murder of Lepo Taliese in violation

of 18 U.S.C. § 1959(a)(1) and 2 (Count 6); a VICAR violation in

the form of the murder of Romelius Corpuz, Jr., in violation of

18 U.S.C. § 1959(a)(1) and 2 (Count 7); and a VICAR violation in

the form of the attempted murder of Tinoimalo Sao in violation of

18 U.S.C. § 1959(a)(5) and 2 (Count 8).           Id.

           On July 9, 2009, the court sentenced Joseph to life

imprisonment as to Counts 6 and 7, as statutorily required;

20 years’ imprisonment as to Counts 1, 2, and 4; 5 years’

imprisonment as to Count 3; and 10 years’ imprisonment as to

Count 8.   The court ran all terms concurrently.            See ECF No.

1157.   Although sentencing Joseph to life imprisonment, the court

also ordered 5 years of supervised release in case that should

become applicable.   Id.      The court additionally ordered Joseph to

pay restitution of $5,552.68 to the family of Lepo Taliese,

$5,552.68 to the family of Romelius Corpuz, Jr., and $8,000 to

the State of Hawaii Crime Victim Compensation Commission.                This

restitution was owed jointly and severally with co-Defendants

Ethan Motta and Kevin Gonsalves.         Id.    The court also ordered

Joseph to pay $700 in mandatory special assessments, $100 for

each count of conviction.      Id.

           On July 10, 2009, Joseph appealed.           See ECF No. 1159.

The Ninth Circuit affirmed the judgment in a Memorandum Decision

filed on January 10, 2012.       See ECF No. 1341.       Since then, Joseph


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has filed countless motions, including the ones presently before

this court, which are 1) Motion Under 28 U.S.C. § 2255 to Vacate,

Set Aside, or Correct Sentence by a Person in Federal Custody,

ECF No. 1466; 2) Combined Motions to Vacate the Judgement, ECF

No. 1475; and 3) Combined Motions for Bartkus vs. Illinois

Evidentiary Hearing on Double Jeopardy Grounds, ECF No. 1509.

The court treats these motions as a single § 2255 petition.              The

court denies all of these motions without a hearing and declines

to issue a certificate of appealability.

II.       ANALYSIS.

          A federal prisoner may move to vacate, set aside, or

correct his or her sentence if it “was imposed in violation of

the Constitution or laws of the United States, . . . the court

was without jurisdiction to impose such sentence, or . . . the

sentence was in excess of the maximum authorized by law, or is

otherwise subject to collateral attack . . . .”           28 U.S.C.

§ 2255.   There are restrictions on what claims can and cannot be

raised in a § 2255 petition.

          For example, a § 2255 petition cannot be based on a

claim that has already been disposed of by the underlying

criminal judgment and ensuing appeal.         As the Ninth Circuit

stated in Olney v. United States, 433 F.2d 161, 162 (9th Cir.

1970), “Having raised this point unsuccessfully on direct appeal,


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appellant cannot now seek to relitigate it as part of a petition

under § 2255.”

          When a § 2255 petitioner has not raised an alleged

error at trial or on direct appeal, the petitioner is

procedurally barred from raising the issue in a § 2255 petition

if it could have been raised earlier, unless the petitioner can

demonstrate both “cause” for the delay and “prejudice” resulting

from the alleged error.       As the Court said in United States v.

Frady, 456 U.S. 152, 167-68 (1982), “[T]o obtain collateral

relief based on trial errors to which no contemporaneous

objection was made, a convicted defendant must show both

(1) ‘cause’ excusing his double procedural default, and

(2) ‘actual prejudice’ resulting from the errors of which he

complains.”   Id.; accord Davis v. United States, 411 U.S. 233,

242 (1973).   To show “actual prejudice,” a § 2255 petitioner

“must shoulder the burden of showing, not merely that the errors

at his trial created a possibility of prejudice, but that they

worked to his actual and substantial disadvantage, infecting his

entire trial with error of constitutional dimensions.”             Frady,

456 U.S. at 170.

          Some of Joseph’s claims are couched as ineffective

assistance of counsel claims, even though most of his claims



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raise issues that could have been raised earlier.          To establish

ineffective assistance of counsel, Joseph must show that (1) his

counsel’s performance was deficient, and (2) the deficient

performance prejudiced his defense.     Strickland v. Washington,

466 U.S. 668, 687 (1984).     There is “a strong presumption” that

counsel’s conduct was reasonable and that counsel’s

representation did not fall below “an objective standard of

reasonableness” under “prevailing professional norms.”           Id. at

688.   Even if a petitioner can overcome the presumption of

effectiveness, the petitioner must still demonstrate a

“reasonable probability that, but for counsel’s unprofessional

errors, the result of the proceeding would have been different.”

Id. at 694.     Because “[i]t is all too tempting for a defendant to

second-guess counsel’s assistance after conviction,” judicial

scrutiny of counsel’s performance is highly deferential.            Id. at

689.

           A.     Joseph’s Request for Appointment of Counsel is
                  Denied.

           Joseph requests appointment of counsel to pursue this

§ 2255 motion, arguing that he should get new counsel because his

old counsel withdrew after he asserted his ineffective assistance

of counsel claims.    See ECF No. 1509, PageID # 15837.         That

request is denied.

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           Under 18 U.S.C. § 3006A(g), counsel may be appointed

for an impoverished habeas petitioner whenever “the court

determines that the interests of justice so require . . . .”

Such appointment of counsel becomes mandatory when an evidentiary

hearing is required.   Bashor v. Risley, 730 F.2d 1228, 1233 (9th

Cir. 1984).   As discussed below, an evidentiary hearing is not

required here.

           The court exercises its discretion in declining to

appoint counsel under the circumstances presented here, as the

appointment of an attorney would not make a difference in the

result.   For the most part, Joseph has failed to identify the

factual bases supporting his arguments.         Without factual support,

no attorney could make a better case for Joseph.           To the extent

Joseph seeks to reassert issues already rejected on direct

appeal, no attorney could get Joseph a better result.             Finally,

to the extent Joseph is asserting claims that he procedurally

defaulted on, no attorney could succeed in asserting those

claims.

           The court notes that it has been and will be giving

Joseph leniency as a pro se litigant.         However, this leniency

does not forgive the various procedural bars discussed below.




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           B.   Joseph is Procedurally Barred From Claiming that
                the Government Failed to Disclose Favorable
                Evidence.

           Joseph argues that the Government failed to disclose to

him favorable evidence that he could have used to impeach various

Government agents.   See ECF No. 1466, PageID #s 15255 and 15256.

Joseph does not identify what this evidence is such that the

claim could be evaluated.     To the extent he bases this argument

on the same allegedly undisclosed evidence that was raised on

direct appeal, Joseph is procedurally barred from making the

claim.   See Olney, 433 F.2d at 162.    On Joseph’s direct appeal,

the Ninth Circuit ruled:

           The United States did not violate Brady v.
           Maryland, 373 U.S. 83 (1963), by failing to
           disclose potential impeachment evidence
           regarding three government witnesses.
           Assuming arguendo that the government was
           required to disclose the evidence, the
           witnesses’ testimony was cumulative of other
           evidence, and so would not have “created a
           ‘reasonable probability of a different
           result.’” United States v. Jernigan, 492 F.3d
           1050, 1053 (9th Cir. 2007) (en banc) (quoting
           Kyles v. Whitley, 514 U.S. 419, 434 (1995)).

ECF No. 1341, PageID # 13480.

           To the extent Joseph is basing this argument on other

evidence not discussed on appeal, Joseph has procedurally

defaulted on the argument, as he fails to demonstrate that




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Frady’s “cause” and “prejudice” excuse his failure to raise the

issue earlier.

          C.     Joseph is Procedurally Barred From Raising His
                 Actual Innocence Claim.

          Joseph argues that he is innocent of the charges.            See

ECF No. 1509, PageID #15850.     Joseph, however, does not clearly

explain what facts this claim is based on.       To the extent the

argument is based on issues already raised and decided on direct

appeal, Joseph is procedurally barred from raising the issues in

this § 2255 motion.   See Olney, 433 F.2d at 162.

          On direct appeal, the Ninth Circuit ruled that there

was sufficient evidence to support Joseph’s convictions, stating,

          12. There was sufficient evidence of an
          “enterprise” under the RICO and VICAR
          statutes to support the jury’s verdicts. . .
          . The evidence showed that Joseph and Motta
          were part of a group of individuals who
          together operated and profited from illegal
          gambling. . . .

          13. The trial evidence established that
          Motta and Joseph conducted the affairs of an
          enterprise through a “pattern of racketeering
          activity” under the RICO statute. The
          evidence showed that (1) Joseph and Motta
          committed two racketeering acts (assisting in
          the operation of an illegal gambling
          business, and extorting owners of a competing
          business), and Joseph committed the third act
          of robbery; (2) these acts were related by
          virtue of their common purpose (to enrich
          Joseph, Motta, and others); and (3) the acts
          were “continuous” because they existed over

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            many months and “pose[d] a threat of
            continued criminal activity.” . . .

            14. There was sufficient evidence to support
            the jury’s verdict that Joseph was guilty of
            an assault with a dangerous weapon in aid of
            racketeering. The evidence showed that
            Joseph and other men held the patrons of a
            competing game room at gunpoint and robbed
            them in violation of Hawaii’s armed robbery
            statute, Haw. Rev. Stat. § 708-840.

ECF No. 1341, PageID #s 13480-81.

            Joseph cannot now make these same arguments, having

failed to prevail on them on direct appeal.        See Olney, 433 F.2d

at 162.

            Joseph also argues that new evidence regarding his

“self-defense” claim was just discovered.       He says that there was

a rope found in a victim’s vehicle and a weapon found in the

backpack of a victim that Joseph believes would have been used to

bind him and hurt him.    Joseph procedurally defaulted on this

claim.    Joseph fails to explain why he or his attorney did not

know about this alleged evidence.      Even if he could satisfy

Frady’s “cause” requirement, he still fails to demonstrate

prejudice.    Overwhelming evidence was introduced at trial

indicating that the shooting was not in self-defense.

            For example, Tinoimalo Sao testified that, after he got

out of his van, he went to shake Joseph’s hand, but



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Joseph kept his hands in his pocket.      Sao then walked over to

Motta.    Transcript of Proceedings at 12-42, Feb.2 5, 2009, PageID

# 10518; Transcript of Proceedings at 13-46 to 13-47, March 3,

2009, ECF No. 1245, PageID # 10691-92.        Sao testified that he

hugged Motta, turned around, then was shot by Motta.           Id. at 13-

48, PageID # 10693.    Sao further testified that he heard Motta

tell Joseph to “Shoot ‘em,” and that Joseph shot Lepo Taliese.

See Transcript of Proceedings at 12-6 and 12-45, Feb. 25, 2009,

PageID # 10482 and 10521.     Sao conceded on cross-examination that

he had earlier said that Motta told Kevin Gonsalves to “Shoot

‘em.”    Id. at 12-57, PageID # 10533.    Sao testified, however,

that he also heard Joseph say, “Shoot ‘em, Kev.”          Id. at 12-63,

PageID # 10539.

            Motta testified at trial that, when Sao hugged him, Sao

looked to the left and to the right.      Motta says that he then saw

a truck with a bunch of guys in it “coming.”         See Transcript of

Proceedings at 14-48, March 4, 2014, ECF No. 1246, PageID

# 10899.    Motta said that, at the time, Taliese had a black

handbag in his hands.    Id. at 14-49, PageID # 10900.         He says

that he then ran to his car, got a gun that Joseph had put on the

seat, then fired it.    Id. at 14-50 to 14-51, PageID # 10901-02.

            Joseph did not testify at trial.



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           The presence of a rope in the victim’s van or of the

weapon in a bag may demonstrate that Motta was correct in fearing

for his own safety.     But the items, having been unknown to Motta

or Joseph at the time, do not themselves indicate that Joseph

acted in self-defense.     Joseph fails to show that the absence at

trial of this “new evidence” worked to his actual and substantial

disadvantage.     See Frady, 456 U.S. at 170.     It would be pure

speculation to posit that the “new evidence” would have changed

the jury’s verdict, as neither Joseph nor Motta could have acted

in response to this evidence when shooting the victims.

           D.     Joseph Procedurally Defaulted With Respect to his
                  “Double Jeopardy” Claims.

           Joseph argues that his double jeopardy rights were

violated when, after being initially indicted in state court, he

was subsequently indicted and tried in federal court on related

crimes.   Joseph claims that the federal Government improperly

requested and received a writ of habeas corpus ad prosequendum to

transfer the jurisdiction for prosecution from state court to

this court.     See ECF No. 1509, PageID #s 15839-49.          Without

really raising a double jeopardy claim (as jeopardy had not

attached in state court), Joseph appears to be claiming that

federal prosecutors improperly influenced state-court criminal

proceedings by commanding the state court to transfer custody of

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Joseph to the United States Marshal so that Joseph could be

prosecuted in federal court, in violation of Wilson v.

Schnettler, 365 U.S. 381 (1961).        In that case, the Supreme Court

noted that federal courts should not use their discretionary

power to interfere with threatened proceedings in state courts,

except in exceptional circumstances.       Id. at 385.

           Without any evidentiary support, Joseph argues that the

state prosecution was no more than a tool for the federal

Government, as evidenced by the writ to transfer him to federal

custody.   Joseph also argues that his double jeopardy rights were

violated by the imposition of seven $100 special assessments, one

for each count for which he was convicted.        Because Joseph did

not raise these issues earlier with this court or on appeal, the

claims are procedurally barred unless he can satisfy Frady’s

“cause” and “actual prejudice” requirements.         See Frady, 456 U.S.

at 167-68.   Nor is the argument about the special assessments at

all clear to this court.      To the extent Joseph is arguing that

the assessments bar the Government from seeking a prison term,

this court knows of no authority to that effect.




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                 1.     Joseph Procedurally Defaulted on His Claim
                        Based on the Writ of Habeas Corpus Ad
                        Prosequendum.

            This court issued a writ of habeas corpus ad

prosequendum that commanded the Interim Director of the

Department of Public Safety, State of Hawaii, to produce Joseph

to face the charges in this case.       See ECF Nos. 7 and 8.       In

claiming a “double jeopardy” violation, Joseph argues that the

Government improperly influenced the state-court proceedings via

the writ.    See ECF No. 1509, PageID #s 15839-49.        Because Joseph

fails to establish Frady’s “cause” and “actual prejudice,” he

procedurally defaulted on this claim by failing to raise it

earlier.

            Joseph contends that double jeopardy claims cannot be

the subject of a procedural default.       See PageId #15840.       But his

citations do not stand for that proposition.         To the contrary,

the court has found no governing authority prohibiting the

application of procedural default jurisprudence to double

jeopardy claims.      See, e.g,, United States v. Challoner, 583 F.3d

745, 750 (10th Cir. 2009) (holding that the district court

correctly ruled that the defendant’s double jeopardy claim was

procedurally barred).




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            Joseph next contends that his failure to raise his

double jeopardy claim based on the allegedly improper writ of

habeas corpus ad prosequendum should be excused because the

Government applied for the writ on an ex parte basis.           See ECF

No. 1509, PageID # 15838.     However, the application, although

sealed, was clearly evident on the docket sheet.          Joseph

certainly had access to facts from which he could have known of

the existence of the writ.     Joseph therefore fails to demonstrate

“cause” for having failed to raise the issue earlier.

            Even if Joseph’s delay in raising the issue was

excused, he does not establish prejudice.        Joseph claims that the

Government obtained the writ “upon false and manufactured

evidence engineered by the FBI under allegations that Defendant

was bribing the state judge in Hawaii in order to get favorable

judgments in Defendant’s case.”      ECF No. 1509, PageID # 15841.

But the “Application and Order for Writ of Habeas Corpus Ad

Prosequendum” does not mention anything concerning the bribing of

a judge at all.    See ECF No. 7.    In other words, the writ was not

issued based on “false and manufactured evidence” to that effect,

as no such evidence was submitted to any court in connection with

the writ.    A suggestion relating to an alleged (but never proved)

relationship between Motta and a state-court judge was raised by



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a witness during trial, see Testimony of Jonnaven Monolim, March

6, 2009, ECF No. 1248 at 16-37, PageID # 11175, but that

suggestion was made after the writ had issued.         Joseph therefore

fails to establish prejudice, because he provides no factual

basis for his claim.

          Joseph misreads Strand v. Schmittroth, 251 F.2d 590

(9th Cir. 1957).   See ECF No. 1509, PageID #s 15841-42.          That

case does not stand for the proposition that the writ had to have

been directed to the “Hawaii state judicial branch,” instead of

to the Interim Director of the Department of Public Safety, State

of Hawaii.   Nothing in the record indicates that the “Hawaii

state judicial branch” had custody of Joseph at the time.            Strand

rejected a claim by the federal government that, while a person

was on parole, he could not be tried in state court.           In reaching

its holding, the court stated:

          It is well established that a sovereign,
          which has the paramount right to proceed with
          trial and sentence and which at the same time
          has custody of a defendant, may yield up the
          body to another sovereign and consent to
          trial of the defendant upon a subsequent
          charge by the latter and, of course, upon a
          prior charge. Likewise, where the defendant
          in a proceeding in a tribunal is a parolee,
          probationer or on bail from another
          jurisdiction and court, the sovereign in
          whose court the right to proceed is lodged by
          possession of the body or otherwise may



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           nevertheless yield to the officers of another
           sovereign.

Id. at 595.

           Strand therefore supports the State of Hawaii’s

agreement to Joseph’s trial for the RICO and VICAR crimes in

federal court, rather than his trial on state charges in state

court.    In other words, even though Hawaii officials were already

in the process of prosecuting Joseph in state court, that did not

mean that the state court could not defer to the subsequent

prosecution in this court.     Neither Joseph’s bald accusation that

the FBI manufactured evidence nor his speculation as to what

motivated the federal charges demonstrates the “actual prejudice”

necessary to excuse his procedural default with respect to the

matter.

                 2.   Joseph Procedurally Defaulted on His Claim
                      That the Seven Special Assessments Amounted
                      To Multiple Punishments For the Same Crime.

           Joseph argues that his double jeopardy rights were

violated when he was subject to seven separate $100 special

assessments (one for each count of conviction) while being

required to serve concurrent prison terms.        See ECF No. 1466,

PageID # 15257-15260; ECF No. 1475, PageID #s 15284-15288; and

ECF No. 1509, PageID #s 15849-50.       Joseph clearly misunderstands




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the law in this area, but, even if that were not so, he has

procedurally defaulted on the claim.

          Joseph certainly knew about the seven $100 special

assessments at the time he was sentenced and could have raised

his argument at that time or on appeal.       He therefore fails to

establish Frady’s “cause” requirement.

          Joseph also fails to establish prejudice with respect

to the seven $100 special assessments imposed on him.            Pursuant

to 18 U.S.C. § 3013(a)(2)(A), the court “shall assess on any

person convicted of an offense against the United States . . .

the amount of $100 if the defendant is an individual.”             In United

States v. Hayes, 385 F.3d 1226, 1228 (9th Cir. 2004), the Ninth

Circuit recognized that special assessments “are fixed amounts

that courts impose on each count of a conviction.”             The Supreme

Court has noted that “§ 3013 requires a federal district court to

impose a . . . special assessment for every conviction.”

Rutledge v. United States, 517 U.S. 292, 301 (1996).

          Rutledge provides guidance here.        In Rutledge, the

Supreme Court reiterated the long-standing principle that a

person cannot be punished twice for the same crime.            Accordingly,

when a defendant sentenced to concurrent terms of imprisonment is

required to pay a special assessment for each multiplicitous



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felony count, those terms and assessments result in multiple

punishments for the same crime.      See Rutledge, 517 U.S. at 301.7

Joseph, by contrast, was not convicted of multiplicitous counts

(i.e., counts involving the same crime).       He therefore fails to

demonstrate any double jeopardy issue with respect to the

multiple special assessments.     See id. at 297-303; see also

United States v. Christner, 66 F.3d 922, 927-30 (8th Cir. 1995)

(noting that a defendant may not be sentenced to special

assessments for each count when multiple counts charge a single

offense, but holding that the indictment in question was not

multiplicitous).   Joseph therefore fails to demonstrate the

prejudice necessary to excuse his procedural default on this

issue.

          To the extent Joseph argues that he has satisfied the

judgment by paying the seven special assessments such that he

should be released from his life term of imprisonment, see ECF

No. 1466, PageID # 15258; and ECF No. 1475, PageId #s 15286-87,

he similarly fails to establish Frady’s “cause” or “prejudice.”

In any event, there is no authority supporting that contention,

and a plain reading of the judgment indicates that Joseph does

not satisfy the judgment by complying with only a portion of it.




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          E.    Joseph’s Counsel Was Not Ineffective in Failing To
                Make the Double Jeopardy Argument That the Seven
                Special Assessments Amounted to Multiple
                Punishments For the Same Crime.

          To the extent Joseph argues that his counsel was

ineffective in failing to make the argument that the seven

special assessments amounted to multiple punishments for the same

crime in violation of his double jeopardy rights, see ECF No.

1475, PageID # 15288, Joseph fails to demonstrate that his

counsel’s performance was deficient or that the allegedly

deficient performance prejudiced him.         See Strickland, 466 U.S.

at 687.   As discussed above, Joseph fails to demonstrate that any

of his convictions involved the same crime.         Accordingly, he

fails to demonstrate the factual predicate for his claim that he

was punished more than once for the same crime.           Under these

circumstances, his counsel was not ineffective in failing to make

an unmeritorious argument, and Joseph could not possibly have

been prejudiced by that failure.

          F.    Joseph’s Counsel Was Not Ineffective in Allegedly
                Failing To Impeach Government Witnesses.

          Without any further explanation or factual support,

Joseph argues, “Counsel failed to investigate and to otherwise

obtain evidence that could have been used to impeach multiple

government witnesses.    Counsel also failed to impeach witnesses



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where the government did provide evidence that could have been

used to impeach such witnesses.”        ECF No. 1466, PageID # 15255.

Even assuming these bald claims are true, Joseph does not

demonstrate how he was possibly prejudiced such that his counsel

could be said to have been ineffective.       See Strickland, 466 U.S.

at 687.   In other words, because Joseph does not identify the

factual bases of this claim, he cannot demonstrate the necessary

prejudice.

           Moreover, any failure to impeach Government witnesses

may have been the result of trial strategy.        Joseph’s counsel

explains that he

           did not attempt to discredit or “impeach”
           many of the government’s witnesses because in
           many instances these witnesses supported our
           defense. The defense strategy was to portray
           Joseph as a strong-arm operative who was
           extorting money from Asian gamblers, as
           opposed to being a co-conspirator of Kai Ming
           Want or a member of Wang’s racketeering
           organization.

See Declaration of Counsel, ECF No. 1504-13, PageID # 15797.

           In Strickland, the Supreme Court stated that, “Because

advocacy is an art and not a science, and because the adversary

system requires deference to counsel's informed decisions,

strategic choices must be respected in these circumstances if

they are based on professional judgment.”        Id. at 681.      It



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explained, “If counsel conducts such substantial investigations,

the strategic choices made as a result will seldom if ever be

found wanting.”    Id. (quotation marks and citation omitted).

Because Joseph fails to identify what matters counsel should have

investigated but did not investigate, Joseph fails to show how

that alleged failure could have possibly prejudiced him.            Without

such a description, the court cannot tell whether any particular

event was a strategic decision that had any effect, either by

itself or cumulatively, on the outcome.

           G.     Joseph’s Counsel Was Not Ineffective in Allegedly
                  Failing To Object to Evidence Regarding a “Dying
                  Declaration.”

           Joseph claims that his trial attorney was ineffective

in failing to object to a “dying declaration,” which he says was

admitted in violation of evidentiary rules and his right to

confrontation of witnesses.     See ECF No. 1466, PageID # 15255.

Although Joseph does not identify the dying declaration at issue,

he appears to be referring to the dying declaration of Lepo

Taliese.   The court notes that, notwithstanding Joseph’s claim,

his attorney did indeed object to the introduction of the dying

declaration when he filed a joinder on Joseph’s behalf to a co-

Defendant’s motion to preclude the dying declaration.           See ECF




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Nos. 440 and 557; Transcript of Proceedings on December 27, 2007,

at 11, ECF No. 1218, PageID # 7398.

          In any event, the Ninth Circuit foreclosed this

argument on direct appeal:

          The district court did not violate the
          Confrontation Clause by admitting the dying
          declaration of Lepo Taliese. The
          Confrontation Clause applies only to
          testimonial statements. Whorton v. Bockting,
          549 U.S. 406, 419-20 (2007); Davis v.
          Washington, 547 U.S. 813, 823-25 (2006). The
          statements that Taliese made to police after
          he was shot were not testimonial because,
          objectively viewed, they were elicited to
          assist the police in responding to an ongoing
          emergency. Michigan v. Bryant, -- U.S. --,
          131 S. Ct. 1143, 1150 (2011). Even if
          Taliese’s statements were testimonial, the
          district court correctly ruled that they were
          admissible as a dying declaration under Fed.
          R. Evid. 804(b)(2).

See ECF No. 1341, PageID # 13478-79.

          Given the Ninth Circuit ruling, it cannot be said that

Joseph’s counsel’s performance was deficient when the dying

declaration was introduced at trial or that any deficiency

prejudiced Joseph.    Joseph therefore fails to demonstrate

ineffective assistance of counsel based on the dying declaration.

See Strickland, 466 U.S. at 687.




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           H.     Joseph’s Counsel Was Not Ineffective in Allegedly
                  Failing To Investigate and Obtain Evidence
                  Establishing the Lack of An Interstate Commerce
                  Nexus.

           Joseph next claims ineffective assistance of counsel as

follows:

           Counsel failed to investigate and otherwise
           obtain evidence that the government’s
           evidence establishing interstate commerce
           nexus was clearly false and inaccurate.
           Moreover, counsel stipulated into evidence
           the hearsay statement of witness Kai Ming
           Wang, regarding certain gambling implements
           (which purportedly had interstate nexus),
           where investigation would have revealed that
           the statement was clearly false and
           inaccurate.

ECF No. 1466, PageID # 15255.

           Because Joseph fails to identify what specific evidence

would have been found had his attorney done a better

investigation, he does not show that his counsel’s performance

was deficient.    See Strickland, 466 U.S. at 687.

           For purposes of addressing Joseph’s argument, this

court assumes that Joseph is referring to the green felt

tabletop, card chute, dice, decks of cards, chips, and such

gambling paraphernalia.       The evidence at trial was sufficient to

establish an interstate commerce nexus.        At trial, Jason Dai

testified that he was a baccarat dealer at Kai Ming Wang’s

gambling house.    See Transcript of Proceedings of February 6,

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2009, at 3-81 and 3-84, ECF No. 1235, PageID # 8919 and 8922.

Dai examined a green felt tabletop for a baccarat table at issue

with Chinese characters on it, Exhibit No. 10, testifying that it

could not be purchased in Hawaii and that he purchased a similar

item in Hong Kong.     Id. at 3-81 to 3-82, PageID #s 8919-20.            He

further testified that a card chute used in the gambling room was

purchased from China and that the chips for the room were

purchased from Las Vegas.      Id. at 3-95, PageID # 8933. This is

sufficient evidence to establish the required “minimal”

interstate commerce nexus with the gambling enterprise for

purposes of the RICO statutes.      See United States v. Juvenile

Male, 118 F.3d 1344, 1348 (9th Cir. 1997).

          As the court understands the argument, Joseph is

complaining that the specific items may not have been the ones

actually used in gambling operations charged in the Second

Superseding Indictment.       But, as Dai testified, these items were

not the kind of items manufactured locally, see Transcript of

Proceedings of February 6, 2009, at 3-81, 3-82, 3-84, and 3-95,

ECF No. 1235, PageID #s 8919, 8920, 8922, and 8933, so that, even

if the actual exhibits were not themselves used in connection

with the crimes charged, if substantially identical items were

used in the gambling operation during the time frame of the



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crimes charged in the Second Superseding Indictment, the

interstate nexus was shown.     Joseph does not identify evidence

suggesting local manufacture of these items.         Joseph fails to

demonstrate that any deficient performance on the part of his

attorney prejudiced his defense in this regard.

           I.    Joseph’s Counsel Was Not Ineffective in Allegedly
                 Failing To Challenge the Indictment.

           Joseph next argues that his counsel was ineffective

when he “failed to object to, and otherwise challenge, the

defective indictment in this case.”      ECF No. 1466, PageID

# 15256.   Joseph again fails to explain the factual bases for

this argument.   The court notes that Joseph’s counsel did file on

his behalf a “Motion to Dismiss Counts 1, 2, 4, 5, 6, 7, and 8 of

the Second Superseding Indictment For Failure to Allege

Associated-in-Fact Enterprise,” as well as a “Motion to Dismiss

for Multiplicity.”    See ECF Nos. 439 and 441.       The court is

unsure what other motions Joseph considers appropriate.            The

court cannot conclude that Joseph’s counsel was ineffective in

failing to challenge the indictment when Joseph fails to identify

the challenge that should have been made.        Without that argument,

Joseph cannot demonstrate that his counsel’s performance was

deficient or that the allegedly deficient performance prejudiced

Joseph’s defense.    See Strickland, 466 U.S. at 687.

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           J.    Joseph’s Counsel Was Not Ineffective in Allegedly
                 Failing To Challenge a Jury Instruction.

           Joseph argues that his counsel was ineffective in

failing “to object to, and otherwise challenge, erroneous jury

instruction[s].”    ECF No. 1466, PageID # 15256.        But once again

Joseph fails to identify which jury instruction is supposedly

problematic.    Without that identification, Joseph cannot

demonstrate that his counsel’s performance was deficient or that

the allegedly deficient performance prejudiced Joseph’s defense.

See Strickland, 466 U.S. at 687.

           K.    The Court Decides This Matter Without a Hearing.

           The court denies Joseph’s § 2255 motion without holding

an evidentiary hearing, as the record before the court

conclusively demonstrates that he is not entitled to § 2255

relief.   See 28 U.S.C. § 2255(b) (requiring a hearing “[u]nless

the motion and the files and records of the case conclusively

show that the prisoner is entitled to no relief”).

           L.    The Court Declines to Issue a Certificate of
                 Appealability.

           The court also declines to grant Joseph a certificate

of appealability.    An appeal may not be taken to the court of

appeals from a final order in a § 2255 proceeding “[u]nless a

circuit justice or judge issues a certificate of appealability.”



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28 U.S.C. § 2253(c)(1)(B).     The court shall issue a certificate

of appealability “only if the applicant has made a substantial

showing of the denial of a constitutional right.”          28 U.S.C.

§ 2253(c)(2).    When a district court denies a § 2255 petition on

the merits, a petitioner, to satisfy the requirements of section

2253(c)(2), “must demonstrate that reasonable jurists would find

the district court’s assessment of the constitutional claims

debatable or wrong.”    Slack v. McDaniel, 529 U.S. 473, 484

(2000).    When, however, a

            district court denies a habeas petition on
            procedural grounds without reaching the
            prisoner’s underlying constitutional claim, a
            [certificate of appealability] should issue
            when the prisoner shows . . . that jurists of
            reason would find it debatable whether the
            petition states a valid claim of the denial
            of a constitutional right and that jurists of
            reason would find it debatable whether the
            district court was correct in its procedural
            ruling.

Id.

            No reasonable jurist would find this court’s assessment

of the merits of Joseph’s constitutional claims debatable or

wrong.    Nor would any reasonable jurist determine that the

various procedural grounds for denying Joseph’s § 2255 petition

are debatable.




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III.       CONCLUSION.

           For the foregoing reasons, Joseph’s § 2255 Petition is

denied.   Given the length and lack of clarity of the issues

raised by Joseph in his § 2255 motion, the court will not enter

judgment until at least April 1, 2014.        If Joseph feels that the

court has neglected to rule on any issue raised in his § 2255

motion, ECF Nos. 1466, 1475, and 1509, he must so inform the

court by completing the form attached as Exhibit A to this order

and placing it in the prison mail system no later than March 24,

2014.   The completed court form must identify what issue was not

ruled on in 20 words or less per issue, and must identify the

exact page and line of his petition on which the issue was

raised.   Joseph may not include any argument in the court form.

If the court does not timely receive a completed Exhibit A from

Joseph, the court will automatically enter judgment in favor of

the Government.

           If Joseph seeks reconsideration of or modification to

this order or any judgment pursuant to Rule 59(e) or Rule 60(b)

of the Federal Rules of Civil Procedure, he may file a single

document that is no longer than either 30 pages or 9,000 words.

See Local Rule 7.5.    Such a motion has no bearing on the deadline




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of March 24, 2014, for identifying issues raised in the § 2255

petition that this court has inadvertently failed to address.

            The Clerk of Court is directed to delay entry of

judgment and to include with Joseph’s copy of this order two

extra copies of Exhibit A for his use.


            IT IS SO ORDERED.

            DATED: Honolulu, Hawaii, February 27, 2014.




                                     /s/ Susan Oki Mollway
                                    Susan Oki Mollway
                                    Chief United States District Judge




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MOTIONS UNDER 28 U.S.C. § 2255, ECF NOS. 1466, 1475, and 1509




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                  Exhibit A
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                IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF HAWAII

  UNITED STATES OF AMERICA,   )        CRIM. NO. 06-00080 (02) SOM
                              )
          Plaintiff,          )
                              )        DEFENDANT RODNEY JOSEPH’S
              vs.             )        IDENTIFICATION OF ISSUES
                              )        RAISED IN § 2255 MOTION, BUT
  RODNEY JOSEPH, JR. (02),    )        NOT ADDRESSED IN THE COURT’S
                              )        ORDER OF FEBRUARY 27, 2014
          Defendant.          )
_____________________________ )

        DEFENDANT RODNEY JOSEPH’S IDENTIFICATION OF ISSUES
            RAISED IN § 2255 MOTION, BUT NOT ADDRESSED
             IN THE COURT’S ORDER OF FEBRUARY 27, 2014

          If Defendant Rodney Joseph asserts that he raised

issues in his § 2255 motion that were not addressed by the

court’s order of February 27, 2014, he must identify those issues

using this form.   The record citation of where the issue was

raised and discussed (ECF No. and page and line citation) must be

included, but no further argument may be made.          For each issue

identified, the description of the issue may not exceed 20 words.

Anything exceeding 20 words will be disregarded.


Issue (limited to 20 words per                ECF No.    Page and Line
description)                                             Citation


1.
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Issue (limited to 20 words per               ECF No.    Page and Line
description)                                            Citation


2.




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Issue (limited to 20 words per                ECF No.    Page and Line
description)                                             Citation



9.




10.




11.




12.




          If Joseph is submitting this completed form, he must

place it in the prison mail system no later than March 24, 2014.




__________________                             _________________________
Date                                           Rodney Joseph, #95590-022
                                               U.S. Penitentiary Atwater
                                               P.O. Box 019001
                                               Atwater, CA 95301




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I, Rodney Joseph, hereby certify that I have delivered the

foregoing document to the prison mail system on March __, 2014



__________________                            _________________________
Date                                          Rodney Joseph, #95590-022
                                              U.S. Penitentiary Atwater
                                              P.O. Box 019001
                                              Atwater, CA 95301




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